                                                            Sep 03, 2020

                                                          s/ JeremyHeacox




                                          20-M-359 (SCD)




Case 2:20-mj-00359-SCD Filed 09/03/20 Page 1 of 16 Document 1
AO 442 (Rev. 11/11) Arrest Warrant (Page 2)




                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                      (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                                Weight:
Sex:                                                                   Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):




                          Case 2:20-mj-00359-SCD Filed 09/03/20 Page 2 of 16 Document 1
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$PHQGPHQW VHDUFKHV WKH GUDIWLQJ RI VHDUFK ZDUUDQW DIILGDYLWV DQG SUREDEOH FDXVH , KDYH

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LQYHVWLJDWLYH H[SHULHQFH , KDYH OHDUQHG KRZ DQG ZK\ YLROHQW DFWRUV W\SLFDOO\ FRQGXFW YDULRXV

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          Case 2:20-mj-00359-SCD Filed 09/03/20 Page 3 of 16 Document 1
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QXPHURXV EXLOGLQJV DQG YHKLFOHV LQFOXGLQJ DUVRQ WR ORFDO EXVLQHVVHV LQYROYHG LQ LQWHUVWDWH

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          Case 2:20-mj-00359-SCD Filed 09/03/20 Page 4 of 16 Document 1
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          Case 2:20-mj-00359-SCD Filed 09/03/20 Page 5 of 16 Document 1
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         Case 2:20-mj-00359-SCD Filed 09/03/20 Page 6 of 16 Document 1
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         Case 2:20-mj-00359-SCD Filed 09/03/20 Page 7 of 16 Document 1
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    Case 2:20-mj-00359-SCD Filed 09/03/20 Page 8 of 16 Document 1
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           Case 2:20-mj-00359-SCD Filed 09/03/20 Page 9 of 16 Document 1
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SLQJ$GRZQORDGRI.$502¶VSKRQHUHYHDOHGPXOWLSOHSKRWRVRIILUHDUPVLQFOXGLQJDSKRWRRI

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LQ SRVVHVVLRQ RI ILUHDUP HYDGLQJ SHDFH RIILFHU UHVXOWLQJ LQ LQMXU\GHDWK UHFHLYH NQRZQ VWROHQ

SURSHUW\ DQG SRVVHVVLRQ RI FRQWUROOHG VXEVWDQFHV LQ &DOLIRUQLD VRPH RI ZKLFK DUH IHORQLHV

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PDWWHUWKHYLFWLPZDVDVSRXVHH[VSRXVHLQGLYLGXDOZLWKZKRP6PLWKKDGEHHQFRKDELWDWLQJ

RULQGLYLGXDOZLWKZKRP60,7+KDGDFKLOG7KHUHIRUH60,7+ZDVSURKLELWHGIURPSRVVHVVLQJ

ILUHDUPVDQGDPPXQLWLRQRQ6HSWHPEHU

             2Q6HSWHPEHUDWDSSUR[LPDWHO\DP)%,UHFHLYHGDUHSRUWIURPD

ORFDO SROLFH GHSDUWPHQW LQ ,RZD UHJDUGLQJ LWV HQFRXQWHU ZLWK WKH WLSVWHU KHUHLQDIWHU ³FLWL]HQ

ZLWQHVV´RU³&:´ GHVFULEHGDERYHLQ3DUDJUDSK7KHLQLWLDOUHSRUWGHWDLOHGWKDW.$502ZDV

WUDYHOLQJIURP0LVVRXULWR.HQRVKD:LVFRQVLQRQ6HSWHPEHU&:KDGSODQQHGWRJRWR

.HQRVKDZLWK.$502WRORRWEXW&:GHFLGHGQRWWRJR



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           Case 2:20-mj-00359-SCD Filed 09/03/20 Page 11 of 16 Document 1
            $FFRUGLQJ WR WKH ,RZD UHSRUW .$502 WROG &: WKDW SHRSOH ZHUH JRLQJ XS WR

.HQRVKDDQG³SLFNLQJSHRSOHRII´KRZHYHU.$502GLGQRWVWDWHWKDWKHSHUVRQDOO\ZRXOGGR

WKDW

            2Q6HSWHPEHUODZHQIRUFHPHQWRIILFHUVPHWZLWK&:DJDLQ&:UHSRUWHG

WKDW.$502IUHTXHQWO\ZDONHGDURXQGZLWKDILUHDUPLQKLVZDLVWEDQGDQGSOD\HG³5DPER´LQ

WKHEDFN\DUGZLWKYDULRXVILUHDUPV&:KDVVHHQ.$502ZLWKJXQVLQKLVSRVVHVVLRQZLWKLQ

WKHODVWIHZPRQWKV+HERXJKWILUHDUPVWKURXJKWKHPDLODQGPDQXDOO\SXWWKHILUHDUPVWRJHWKHU

KLPVHOI³VKDYLQJGRZQWKHILULQJSLQ´DQGPDNLQJWKHILUHDUPVXQWUDFHDEOHWRODZHQIRUFHPHQW

            $VIDUDVWKHDFWLYLW\RQ$XJXVW&:UHSRUWHGWKDWZKHQ&:PHWZLWK

.$502KHZDVZLWKDZKLWHPDOH&:GLGQRWNQRZ.$502WROG&:KHKDGWZRILUHDUPVLQ

WKH YHKLFOH EXW &: GLG QRW VHH WKHP WKDW HYHQLQJ .$502 WROG &: KH ZDV JRLQJ WR JR WR

.HQRVKD ZLWK WKH LQWHQWLRQ RI SRVVLEO\ XVLQJ WKH ILUHDUPV RQ SHRSOH &: IHDUHG WKDW ZLWK

.$502¶VLQFUHDVHLQFRQVSLUDF\WKHRU\WDONVDQGRWKHU³FUD]\´SROLWLFDOWDONKHZDVQRWLQWKH

ULJKWPLQGVHWWRKDYHDILUHDUP

            $6SHFLDO$JHQWZLWKWKH%XUHDXRI$OFRKRO7REDFFR)LUHDUPVDQG([SORVLYHV

H[DPLQHGDOORIWKHVHL]HGILUHDUPVDQGGHWHUPLQHGWKDWQRQHRIWKHILUHDUPVZHUHPDQXIDFWXUHG

LQ:LVFRQVLQDQGKDGDOOWUDYHOHGLQLQWHUVWDWHFRPPHUFHSULRUWR6HSWHPEHU7KHDJHQW

DOVRUHSRUWHGWKDWWKH(3$UPRU\$5EODFNZLWKPX]]OHGHYLFHDQGRSWLFZDVDKRPHPDGH

ILUHDUPLQVRIDUDVWKHUHFHLYHUZDVPDQXIDFWXUHGLQ7H[DVEXWWKHUHPDLQLQJSDUWVRIWKHILUHDUP

ZRXOGKDYHEHHQREWDLQHGIURPDEXLOGNLWWRFRPSOHWHWKH$5

        ,QWHUYLHZVRI6PLWK .DUPR

            60,7+ZDVLQWHUYLHZHGE\)%,DJHQWVRQ6HSWHPEHU$IWHUZDLYLQJKLV

0LUDQGDULJKWV60,7+LQGLFDWHGWKDWKHDQG.$502WUDYHOHGIURP0LVVRXULZKHUHWKH\OLYHG



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          Case 2:20-mj-00359-SCD Filed 09/03/20 Page 12 of 16 Document 1
WRJHWKHU WR .HQRVKD IRU WKH 3UHVLGHQW 7UXPS UDOO\ RQ 6HSWHPEHU    $IWHU WKHLU YLVLW WR

:LVFRQVLQWKH\LQWHQGHGWRWUDYHOWR'HWURLW,GDKR:DVKLQJWRQDQG2UHJRQ60,7+GHVFULEHG

WKDW KH KDG DQ XQFOH LQ WKH 1RUWKZHVW ZKR RZQHG D GLVSHQVDU\ DQG FRXOG VXSSO\ WKHP ZLWK

PDULMXDQD

                 60,7+H[SODLQHGWKDWKHDQG.$502OHIWWKHLUKRPHLQ0LVVRXULDURXQG

SPRQ$XJXVW$URXQGDPRQ6HSWHPEHUWKH\VWRSSHGWRYLVLWDIULHQG

RI.$502¶VLQ,RZD)URPWKHUHWKH\GURYHDSSUR[LPDWHO\IRXUKRXUVWR.HQRVKDZKHUHWKH\

DUULYHGHDUO\LQWKHPRUQLQJRQ6HSWHPEHU

                 60,7+VWDWHGWKH\DWWHQGHGWKHUDOO\IRU3UHVLGHQW7UXPSRXWVLGHRIWKHKLJKVFKRRO

LQ.HQRVKD60,7+VWDWHGWKH\ZDQWHGWRVHHSURRIRIWKHULRWLQJ+HUHSRUWHGWKDWERWKRIWKH

SLVWROVZHUHORFNHGLQWKHJORYHFRPSDUWPHQWRI.$502¶VYHKLFOHZKLOHWKH\ZHUHDWWKHUDOO\

7KH\EURXJKWWKHJXQVEHFDXVHWKH\GLGQRWZDQWWROHDYHWKHPXQDWWHQGHGLQWKHKRWHOURRP

                 5HJDUGLQJWKHILUHDUPVUHFRYHUHGE\ODZHQIRUFHPHQW60,7+LQLWLDOO\VWDWHGWKDW

KHFXUUHQWO\KDGHOHYHQILUHDUPVIRXU  RIZKLFKKHEURXJKWWR.HQRVKD60,7+ODWHUVWDWHG

WKDWRQHRIWKHIRXUILUHDUPVEURXJKWWR.HQRVKDWKHSLVWRO WKH7DXUXV37$)PPKDQGJXQ 

EHORQJHGWR.$50260,7+UHSRUWHGWKDW.$502ERXJKWWKHKDQGJXQIURPDQHPSOR\HHDW

0LVVRXUL &RRSHUDJH ZKHUH WKH\ ERWK ZRUNHG  60,7+ UHSRUWHG WKDW .$502 DOVR RZQHG DQ

DVVDXOWULIOH

                 60,7+VWDWHGWKDWKHDQG.$502WRRNDSLFWXUHRIWKHPVHOYHVKROGLQJWKHORQJ

JXQVZKLOHWKH\ZHUHSDFNLQJIRUWKHLUWULSWR.HQRVKD:LVFRQVLQ

                 :KHQTXHVWLRQHGDERXWZKDWDSSHDUHGWREHDVLOHQFHUIRXQGLQWKHYHKLFOH60,7+

VWDWHGWKDWWKHVLOHQFHUEHORQJHGWR.$502+HGHVFULEHGLWDVEHLQJPDGHRIWKLQPHWDODQG




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          Case 2:20-mj-00359-SCD Filed 09/03/20 Page 13 of 16 Document 1
ZDVKHUV60,7+GLGQRWEHOLHYHWKDWWKHVLOHQFHUZRUNHGEXW.$502ZDQWHGWRWHVWLW60,7+

UHSRUWHGWKHVLOHQFHUFRXOGEHXVHGRQDPPKDQGJXQDQGDQDVVDXOWULIOH

            60,7+DFNQRZOHGJHGWKDWKHNQHZWKDW.$502ZDVDFRQYLFWHGIHORQDQGWKDW

.$502FRXOGQRWOHJDOO\SRVVHVVDILUHDUP

            60,7+ VWDWHG WKDW KH DQG .$502 UHJXODUO\ VPRNHG PDULMXDQD DIWHUZRUN +H

VWDWHGWKDWKHXVHGPDULMXDQDDVDIRUPRIVHOIPHGLFDWLRQDOPRVWHYHU\QLJKW60,7+DOVRVWDWHG

KHXVHGFRFDLQHDQGPHWKDPSKHWDPLQHVLQWKHSDVW

            :KHQ GLVFXVVLQJ KLV FULPLQDO KLVWRU\ 60,7+ H[SODLQHG WKDW ZKHQ KH ZDV

DSSUR[LPDWHO\\HDUVROGKHFDXJKWKLVJLUOIULHQGFKHDWLQJRQKLPDQGZUHFNHGKHUFDU$WWKH

WLPH60,7+DQGKLVJLUOIULHQGOLYHGLQ&DOLIRUQLD6KHSUHVVHGFKDUJHVDQG60,7+ZDVDUUHVWHG

IRUGRPHVWLFDEXVH60,7+FODLPHGQRWWRUHPHPEHUWKHGHWDLOVFOHDUO\EHFDXVHKHZDVXVLQJ

PDULMXDQD

            $IWHUZDLYLQJKLVULJKWV.$502DOVRDJUHHGWRVSHDNZLWKDJHQWV7KHLQWHUYLHZ

ZDV UHFRUGHG .$502 VWDWHG WKDW .$502 DQG 60,7+ KDYH EHHQ URRPPDWHV LQ +DUWYLOOH

0LVVRXULIRUDSSUR[LPDWHO\IRXUZHHNV7KH\ZRUNHGWRJHWKHUDQGDUHSDUWRIWKH6HFRQG

$PHQGPHQW0LOLWLD2Q$XJXVW.$502DQG60,7+GHFLGHGWRGULYHWR.HQRVKDWR

³VHHIRUWKHPVHOYHV´ZKDWZDVJRLQJRQUHJDUGLQJWKHULRWV2QWKHZD\WKH\VWRSSHGLQ,RZDWR

YLVLW VRPHRQH .$502 NQHZ  .$502 VWDWHG WKDW KH ZDV RIIHQGHG EHFDXVH WKLV LQGLYLGXDO

FRPPHQWHGWKDW.$502DQG60,7+ORRNHGOLNHWKH\ZHUHKHDGLQJWR.HQRVKDWRVKRRWSHRSOH

            .$502 VWDWHG WKDW .$502 DQG 60,7+ WKHQ GURYH WR D /D 4XLQWD +RWHO LQ

3OHDVDQW3UDLULH:LVFRQVLQ7KH\DUULYHGEHWZHHQDPDQGDPRQ6HSWHPEHU

.$502VWDWHGWKDWODWHULQWKHPRUQLQJWKH\DWWHQGHGWKH³0DNH$PHULFD*UHDW$JDLQ´UDOO\DW

WKHKLJKVFKRRO.$502VWDWHGWKDWWKH\SDUNHGWKHLUYHKLFOHZLWKDOORIWKHLUEHORQJLQJVQHDU



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         Case 2:20-mj-00359-SCD Filed 09/03/20 Page 14 of 16 Document 1
WKHUDOO\$IWHUWKHUDOO\.$502DQG60,7+ZHQWEDFNWRWKHKRWHODQGWKH\SODQQHGWRVHH

ZKDW.HQRVKDZDVOLNHDWQLJKW.$502VWDWHGWKDWDIWHU.HQRVKDWKH\SODQQHGWRJRWR3RUWODQG

2UHJRQWRVHHIRUWKHPVHOYHVZKDWZDVJRLQJRQ.$502VWDWHGWKDWKHZRXOGEHZLOOLQJWR

³WDNHDFWLRQ´LISROLFHZHUHGHIXQGHG

             .$502FODLPHGWKDWKHGLGQRWRZQDQ\ILUHDUPVH[FHSWDQDLUULIOH.$502

VWDWHGWKDWKLVSULQWV³SUREDEO\´ZHUHQRWRQDQ\RIWKHJXQVEXWFRXOGEHRQWKHER[HVWKH\ZHUH

LQIURPPRYLQJOXJJDJHDURXQGLQWKHYHKLFOH.$502FODLPHGKHKDGQRWVKRWDJXQIRUPDQ\

\HDUV.$502VWDWHGWKDW60,7+EURXJKWDOORIKLVJXQVH[FHSWRQH3DOPHWWR6WDWH$UPRU\$5

ULIOHZKLFKZDVOHIWDWKRPH.$502VWDWHGWKDWKHNQHZLWZDVULVN\WREHDURXQGSHRSOHZLWK

JXQV.$502H[SODLQHGWKDWLWZDVZRUWKWKHULVNLQWKHHYHQW.$502HYHUQHHGHGWRXVHDJXQ

WR SURWHFW KLPVHOI RU RWKHUV .$502 FODLPHG WKDW KH QHYHU FDUULHG D SLVWRO DQG WKDW KH RQO\

EURXJKWERG\DUPRUDQGDGURQHRQWKHLUWULS

             .$502 VWDWHG KH ZDV DZDUH RI DGRPHVWLF YLROHQFH FRQYLFWLRQ 60,7+ KDG LQ

&DOLIRUQLD.$502FODLPHGWKDWKHGLGQRWNQRZDQ\WKLQJDERXWDQ\VXSSUHVVRUVRUVLOHQFHUV

IRXQGLQWKHLUYHKLFOH5HJDUGLQJDOHWWHUIRXQGLQKLVKRWHOURRP.$502VWDWHGWKDWKHZURWH

WKH OHWWHU WR KLV VRQV DSSUR[LPDWHO\ ILYH \HDUV SULRU WR H[SODLQ WKDW KH KDG D FDOOLQJ WR OHDYH

&DOLIRUQLDDQGOHDUQWROLYHRIIWKHODQG

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             %DVHGRQWKHIDFWVFRQWDLQHGZLWKLQWKLVDIILGDYLWWKHUHLVSUREDEOHFDXVHWREHOLHYH

WKDWRQRUDERXW6HSWHPEHULQ.HQRVKD&RXQW\LQWKH(DVWHUQ'LVWULFWRI:LVFRQVLQDQG

HOVHZKHUH.$502YLRODWHG7LWOH8QLWHG6WDWHV&RGH6HFWLRQ J   )HORQLQ3RVVHVVLRQ

RI)LUHDUPVDQG$PPXQLWLRQ ,QDGGLWLRQWKHUHLVSUREDEOHFDXVHWREHOLHYHWKDWRQRUDERXW

6HSWHPEHU   LQ .HQRVKD &RXQW\ LQ WKH (DVWHUQ 'LVWULFW RI :LVFRQVLQ DQG HOVHZKHUH



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          Case 2:20-mj-00359-SCD Filed 09/03/20 Page 15 of 16 Document 1
60,7+YLRODWHG7LWOH8QLWHG6WDWHV&RGH6HFWLRQV J  DQG $LGLQJDQG$EHWWLQJD

)HORQ¶V3RVVHVVLRQRI)LUHDUPV 7LWOH8QLWHG6WDWHV&RGH6HFWLRQ J   3RVVHVVLRQRI

)LUHDUPVDQG$PPXQLWLRQE\D3URKLELWHG3HUVRQ±PLVGHPHDQRUGRPHVWLFYLROHQFH DQG7LWOH

 8QLWHG 6WDWHV &RGH 6HFWLRQ  J   3RVVHVVLRQ RI )LUHDUPV DQG $PPXQLWLRQ E\ D

3URKLELWHG3HUVRQ±XQODZIXOXVHURIDFRQWUROOHGVXEVWDQFH 




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        Case 2:20-mj-00359-SCD Filed 09/03/20 Page 16 of 16 Document 1
